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TUAN DAO




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                        Case No. 2:09-cr-0222-TLN
             Plaintiffs,                         STIPULATION AND ORDER
vs.
TUAN DAO,
             Defendant.
                                             /


             It is hereby stipulated and agreed to by the United States of America
through HEIKO P. COPPOLA, Assistant United States Attorney and defendant TUAN
DAO, by and through his attorney, KENNY N. GIFFARD, that the Judgment and
Sentencing set for Thursday, June 25, 2015, be continued to Judgment and Sentencing on
Thursday, September 24, 2015, at 9:30 a.m.
             This continuance is being requested because after the defendant was
diagnosed with serious heart and kidney problems in October 2014, he consulted with
and started treatment with medical specialists. The time requested will allow Mr. Dao to
continue with and finish his treatment before he is sentenced and incarcerated.
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       Additionally, the defendant, through counsel, has conferred with both the
Assistant United States Attorney and assigned Probation Officer to remedy discrepancies
found in the Pre-Sentence Report. Those issues in the Pre-Sentence Report prepared in
Mr. Dao’s portion of this case contained factual allegations which were not contemplated
by the parties when the PLEA AGREEMENT was made. Because of those discrepancies,
portions of the Pre-Sentence Report were objected-to by this defendant and substantially
affect the “Offense Level” and potential sentence to be served by Mr. Dao in this case.
Further, the Report is being modified to apply the new sentencing guidelines approved by
the U. S. Sentencing Commission.
              The time requested will allow Mr. Dao to resolve his medical issues and
will also allow the United States Attorney, the Probation Officer, and defense counsel
time to resolve the disputed facts so that the matter may proceed for sentencing.
Dated: June 22, 2015
                                           Respectfully submitted,

                                           /s/ Kenny N. Giffard
                                           KENNY N. GIFFARD
                                           Attorney for Defendant
                                           TUAN DAO

                                           /s/ Kenny N. Giffard for
                                           ______________________________________
                                           HEIKO P. COPPOLA
                                           Assistant U.S. Attorney

                                          ORDER
              Based upon the stipulation of the parties and good cause there appearing,
the Court hereby adopts the stipulation of the parties in its entirety as its order. The
Judgment and Sentencing is set for September 24, 2015, at 9:30 a.m.
Dated: June 23, 2015



                                                            Troy L. Nunley
                                                            United States District Judge
